           Case 1:21-vv-00987-UNJ Document 44 Filed 09/18/23 Page 1 of 5




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-987V



 TERESA SCARBOROUGH,                                         Chief Special Master Corcoran

                         Petitioner,                         Filed: August 17, 2023
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Alan Kenneth Nicolette, Nordstrom, Steele, Nicolette and Blythe, Tustin, CA, for
Petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION AWARDING DAMAGES 1

       On February 23, 2021, Teresa Scarborough filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table Injury – Shoulder Injury
Related to Vaccine Administration (“SIRVA”) – as a result of her September 30, 2020
influenza (“flu”) vaccination. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On June 9, 2023, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On August 14, 2023, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $140,000.00 in pain and
suffering and $22.94 in past unreimbursable expenses. Proffer at 1-2. In the Proffer,

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
          Case 1:21-vv-00987-UNJ Document 44 Filed 09/18/23 Page 2 of 5



Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a
lump sum payment of $140,022.94 (representing $140,000.00 in pain and
suffering and $22.94 in past unreimbursable expenses) in the form of a
check payable to Petitioner. This amount represents compensation for all damages
that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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         Case 1:21-vv-00987-UNJ Document 44 Filed 09/18/23 Page 3 of 5




              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
TERESA SCARBOROUGH,                 )
                                    )
            Petitioner,             )
                                    )    No. 21-987V
      v.                            )    Chief Special Master Brian H. Corcoran
                                    )    ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 23, 2021, Teresa Scarborough (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza (“flu”) vaccine she received on September 30, 2020. On June 5, 2023, the Secretary

of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act for a SIRVA Table injury, and on June

9, 2023, the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 31- 32.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $140,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
            Case 1:21-vv-00987-UNJ Document 44 Filed 09/18/23 Page 4 of 5




       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $22.94. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $140.022.94, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Teresa Scarborough:                          $140,022.94


                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Director
                                                     Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.


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         Case 1:21-vv-00987-UNJ Document 44 Filed 09/18/23 Page 5 of 5




                                          HEATHER L. PEARLMAN
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          TRACI R. PATTON
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s James V. Lopez
                                          James V. Lopez
                                          Trial Attorney
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Date: August 14, 2023




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